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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

R. SHANE FORREST,


                                      Plaintiff,

       v.                                                            Index No.: 1:23-cv-00557

CLOVER GROUP, INC.,
CLOVER MANAGEMENT, INC.,
CLOVER CONSTRUCTION MANAGEMENT, INC.,
CLOVER CONSTRUCTION MANAGEMENT WEST
CORP.,
CLOVER COMMUNITIES FUND I, L.P.,
CLOVER COMMUNITIES FUND II, L.P.,
CLOVER COMMUNITIES FUND III, L.P.,
CLOVER COMMUNITIES FUND IV, L.P.,
CLOVER COMMUNITIES FUND V, L.P.,
CLOVER COMMUNITIES FUND V, LLC,
MICHAEL L. JOSEPH,
ALLISON H. JOSEPH PENDLETON,
RICHARD A. GREENSPAN, and
ROBERT D. JACK,


                                      Defendants.



            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

               Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

plaintiff and the defendants, by their undersigned counsel, stipulate that all claims, causes of

action, and counterclaims should be dismissed on the merits, with prejudice, and without costs or

attorneys’ fees to any party.
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        Case 1:23-cv-00557-EAW-MJP Document 78 Filed 02/22/24 Page 3 of 3




 Dated: February __, 2024                         Dated: February 22, 2024

 ADVOCATES FOR JUSTICE,                           LIPSITZ GREEN SCIME CAMBRIA LLP
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 Attorneys for R. Shane Forrest

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Dated: February 22, 2024

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Communities Fund V, L.P., Clover Communities Fund V, LLC,
Michael L. Joseph, Allison H. Joseph Pendleton, Robert Jack


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